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                             UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF ALABAMA
                                      OFFICE OF THE CLERK
                                       One Church Street
                                  MONTGOMERY, ALABAMA 36104

DEBRA P. HACKETT, CLERK
                                                                     TELEPHONE (334) 954-3600

                                    September 19, 2019


                          NOTICE OF DISMISSAL PURSUANT TO RULE 41



To: ALL PARTIES/COUNSEL


Re: Winston v. The Kroger Co.

Civil Action No. 3:19-cv-00585-WC


Dear Sirs:

        Pursuant to the Joint Stipulation of Dismissal filed on September 19, 2019,

and the Federal Rules of Civil Procedure FRCP41(a)(1)(A)(ii), this case has been

dismissed and removed from the pending docket of this court.



                                                   DEBRA P. HACKETT, CLERK
